Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 1 of 50

Exhibit A
Case 1:06-cv-00831-WMS-HBS Document 160-1

 

 

Raffi Barsoumian 05229.101
Atty/Staff #Hours Hrly Rate Total
2005
Andrew Fleming 13.3 175.00 2327.50
2006
Andrew Fleming 10.25 175.00 1793.50
2007
Andrew Fleming 2.7 175.00 472.50
Christen Pierrot 27.1 125.00 3387.50
Tiffany Kopacz 0.25 125.00 31.25
2008
Andrew Fleming 0.4 175.00 70.00
Christen Pierrot 0.75 125.00 93.75
Tiffany Kopacz 0.5 125.00 62.50
Law Clerk 7.5 75.00 562.50
2009
Andrew Fleming 3.5 175.00 612.50
Christen Pierrot 16.25 125.00 2031.25
Christen Pierrot 11.45 150.00 1717.50
Coriann Carson 0.8 75.00 60.00
Law Clerk 1.8 75.00 135.00
2010
Andrew Fleming 43.1 175.00 7544.50
Andrew Fleming 6.55 200.00 1303.75
Christen Pierrot 49.8 150.00 7470.00
Christen Pierrot 91.97 165.00 15175.05
Brent Salevsky 0.5 165.00 82.50
Coriann Carson 2.3 85.00 195.50
Maria Dolan 1.1 85.00 93.50
Lynn Kozakiewicz 5.85 75.00 438.75
Lynn Kozakiewicz 13.5 85.00 1147.50
2012
Andrew Fleming 0.2 175.00 35.00
Andrew Fleming 3.7 250.00 925.00
Andrew Fleming 3.55 275.00 976.25
Christen Pierrot 0.9 165.00 148.50
Christen Pierrot 50.87 175.00 9410,13
Christen Pierrot 745 150.00 1162.50
Christen Pierrot 16.5 200.00 3300.00
Brent Salevsky 3.8 150.00 570.00

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TOTALS

Hours Rate
15.95 @75 1196.25
16.9 @85 1436.50
44.85 @125 5606.25
84.1 @150 12615.00
93.37 @165 15406,05
124.32 @175 22265.63
32.65 @200 6523.75
3.7. @250 925.00
4.55 @275 1251.25
420.39 | 67225.68|
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2013
Andrew Fleming 1 275.00 275.00
Christen Pierrot 9.6 200.00 1920.00
Lisa Poch 11.3 150.00 1695.00
420.39 67225.68
TOTALS

Andrew Fleming 16335.50
Christen Pierrot 45816.18
Tiffany Kopacz 93.75
Lisa Poch 1695.00
Brent Salevsky 652.50
Law Clerk 697.50
Maria Dolan 93.50
Coriann Carson 255.50
Lynn Kozakiewicz 1586.25
67225.68

EXPENSES

2007 605.00

2009 10.49

2010 2434.45

2012 513.10

2013 1162.50

4725.54

 

0 71951.22
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 4 of 50

Raffi Barsoumian

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials
11/07/06 CAP
11/09/06 CAP
11/09/06 CAP
11/09/06 CAP
11/09/06 CAP

11/09/06 CAP
11/13/06 CAP

11/27/06 APF

12/28/06 APF

Professional Services Hours
Draft Order to Show Cause 30
Review and analyze file AO
Review and revise Complaint .60
Review and revise Complaint AO
Draft plaintiff affidavit in support of order to .80
show cause
Draft order to show cause 50
Review and revise Complaint, Affidavit, OTSC, 50
etc. for client's review
Travel to Court for meeting w/Clerk re getting 1.10
Show Cause Order signed
Review and respond to e-mail from client .10

For services rendered

Recapitulation of Professional Services

Page |

January 15, 2007
Client No. 05229
Matter No. 101
Invoice No. 6

 

Name

 

Hours

Christen Archer Pierrot 3.50
Andrew P. Fleming 1.20

Total

Date
11/17/06

1/02/07

Expenses

Erie County Clerk's Office - index # & RJI
filing fee

Doug DiFilippo - process service re S&C
-OTSC - 12/8/06

Total expenses

Total invoice amount

Amount

$647.50
Amount
437.50
210.00
$647 50

Amount

305.00

150.00

$455.00

$1,102.50
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 5 of 50

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

Raffi Barsoumian
673 Orangeburgh Road

Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Previous unpaid balance as of 1/15/07

Balance due

Thank you for your last payment in the amount of $507.50 received on 5/19/06.

Page 2

January 15, 2007
Client No. 05229
Matter No. 101
Invoice No. 6

1,286.25
$2,388.75

***PL EASE MAKE CHECKS PAYABLE TO CHIACCHIA & FLEMING, LLP. ALSO, FOR YOUR
CONVENIENCE, CHIACCHIA & FLEMING, LLP ACCEPTS VISA OR MASTERCARD.
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Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030 Page |

April 30, 2007
Client No. 05229
Matter No. 101

Invoice No. 7

Raffi Barsoumian
673 Orangeburgh Road
Rivervale, NJ 07675

Invoice

U.B. Residency Issue

Date Initials Professional Services Hours Amount

1/19/07 APF E-mail from client; conf w/CAP; e-mail to client 10

1/22/07 APF Meeting with client 1.00

1/29/07 CAP Review and analyze Defendants’ motion to 2.70
dismiss and Research legal precedent and case
law regarding issues raised therein

3/07/07 TMK — Office conference with cap re: court of claims 25
practice

3/07/07 CAP Review and analyze file and motion to dismiss, .80
prep memo of law outline and memo to APF re:
same

3/07/07 CAP —_ Conference with TMK regarding Court of Claims 25
causes of action against SUNY

3/09/07 CAP Draft memo of law 50

3/19/07 CAP Review and revise memo of law and forward to 70
client for update

3/26/07 CAP __ Review and revise pleadings in opposition to 2.30
defendants' motions to dismiss

3/26/07 CAP Draft APF affirmation 50

3/27/07 APF Review and revise motion opposition papers 40

3/27/07 CAP Review and revise documents 30

3/27/07 CAP ~ Review and revise plaintiff's affidavit in support .80
of motion for preliminary injunction, notices of
motions, and affidavit in support of motion for
expedited relief

3/28/07 CAP _ Review and revise affidavits to final for APF 25
review on motion for injunction

3/28/07 CAP Complete drafting of motion documents and 3.60
assemble same, with exhibits, for filing

4/20/07 CAP Forward documents to client for his 20
records/review

4/23/07 CAP Review and analyze UMRS response/reply .60
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 7 of 50

Raffi Barsoumian

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials
4/24/07 CAP

4/25/07 CAP

4/25/07 CAP
4/27/07 CAP
4/27/07 CAP

4/27/07 CAP
4/27/07 CAP

Professional Services Hours
Review and analyze Defendants' motions and 3.70
Review and revise Plaintiff's response to same
Draft attorney affirmation and Review and revise 1.90
same
Review and revise Memorandum of Law 2.30
Telephone conference with client [No Charge} .20
Telephone conference with client to prep for oral 50
argument [No Charge]
Prepare for oral argument .70
Prep for oral argument 1.30

For services rendered

Recapitulation of Professional Services

Page 2

April 30, 2007
Client No. 05229
Matter No. 101
Invoice No. 7

 

 

Name Hours
Christen Archer Pierrot 24.10
Andrew P. Fleming 1.50
Tiffany M. Kopacz 25
Total

Date Expenses

1/12/07 Process service Charge - Douglas DiFilippo - 5

S&C & OSC

Total expenses

Amount

$3,218.75
Amount
2,925.00
262.50
31.25
$3,218.75

Amount

150.00

$150.00

$3,368.75

Total invoice amount

Thank you for your last payment in the amount of $1,500.00 received on 4/13/07.
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 8 of 50

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030 Page 3
April 30, 2007
Raffi Barsoumian Client No. 05229
673 Orangeburgh Road Invoice Matter No. 101

Rivervale, NJ 07675 Invoice No. 7

U.B. Residency Issue

***PT EASE MAKE CHECKS PAYABLE TO CHIACCHIA & FLEMING, LLP. ALSO, FOR YOUR
CONVENIENCE, CHIACCHIA & FLEMING, LLP ACCEPTS VISA OR MASTERCARD.
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 9 of 50

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030 Page |
June 13, 2007
Raffi Barsoumian Client No. 05229
673 Orangeburgh Road Invoice Matter No. 101
Rivervale, NJ 07675 Invoice No. 8
U.B. Residency Issue
Date Initials Professional Services Hours Amount
5/01/07 CAP Review E-mail from client and respond to same .20
5/16/07 CAP Review E-mail from client and respond to same 10
[No Charge]
For services rendered $25.00

Recapitulation of Professional Services

 

Name Hours Amount

Christen Archer Pierrot 30 25.00

Total $25.00
Total invoice amount $25.00
Previous unpaid balance as of 6/13/07 1,257.50
Balance due $1,282.50

Thank you for your last payment in the amount of $2,000.00 received on 5/23/07.

***PL EASE MAKE CHECKS PAYABLE TO CHIACCHIA & FLEMING, LLP. ALSO, FOR YOUR
CONVENIENCE, CHIACCHIA & FLEMING, LLP ACCEPTS VISA OR MASTERCARD.
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13

Raffi Barsoumian

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials

8/08/07 CAP

9/19/07 CAP

12/12/07 LC

12/17/07 APF

12/19/07 APF

Professional Services

Conference with TMK regarding state claims and
court of claims act

Telephone conference with client regarding status
of decision

reviewed K and affiliation agreements; consulted
w/ friend who has experience w/ medical K;
talked to CAP

Telephone conference with client re strategy &
status

Telephone conference with Judge Skretny's Court
Room Deputy/Clerk; prep. e-mail to client

For services rendered

Recapitulation of Professional Services

Hours

25

25

1.00

20

20

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Page |

January 9, 2008
Client No. 05229
Matter No. 101
Invoice No. 9

 

 

Name Hours
Christen Archer Pierrot 50
Andrew P. Fleming 40
Law Clerk 1.00
Total

Total invoice amount

Amount

$207.50
Amount
62.50
70.00
75.00
$207.50

$207.50

Thank you for your last payment in the amount of $500.00 received on 10/26/07.

***PLEASE MAKE CHECKS PAYABLE TO CHIACCHIA & FLEMING, LLP. ALSO, FOR YOUR
CONVENIENCE, CHIACCHIA & FLEMING, LLP ACCEPTS VISA OR MASTERCARD.
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13

Raffi Barsoumian

Chiacchia & Fleming, LLP

5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Page 11 of 50

Page |

May 8, 2008
Client No. 05229
Matter No. 101
Invoice No. 10

 

 

Date Initials Professional Services Hours
1/09/08 LC preparation of TMK's affidavit in support of 1.00
petition for permission to file late claim against
UB SMBS
1/09/08 TMK — Office conference with LC re: motion papers .20
1/13/08 LC Reviewed file; read declarations of Drs. Berger 1.50
and Hassett, outlined elements of plaintiff's
Affidavit of Merit.
1/15/08 LC conference with TMK on motion, attachment of 1.50
2-21-2006 letter as affirmation exhibit, inclusion
of additional exhibits and additional argument
that Defendant UB SMBS failed to move to
dismiss on forum grounds
1/23/08 LC conference with TMK re proposed claim; 1.50
additions to same; assembled exhibit packets for
motion and proposed claim
1/23/08 TMK _ Office conference with LC re: draft documents 30
2/01/08 CAP _ Draft letter to Kaleida re: legal defense for Raffi 25
in Wolf lawsuit
2/20/08 LC Supplemented and edited memo of law for court 1.00
of claims application; pulled cases for same
For services rendered
Recapitulation of Professional Services
Name Hours Amount
Christen Archer Pierrot 25 31.25
Tiffany M. Kopacz 50 62.50
Law Clerk 6.50 487.50
Total $581.25

Total invoice amount

Amount

$581.25

$581.25
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 12 of 50

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

Raffi Barsoumian
673 Orangeburgh Road

Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Thank you for your last payment in the amount of $200.00 received on 3/28/08.

Page 2

May 8, 2008
Client No. 05229
Matter No. 101
Invoice No. 10

***PLEASE MAKE CHECKS PAYABLE TO CHIACCHIA & FLEMING, LLP. ALSO, FOR YOUR
CONVENIENCE, CHIACCHIA & FLEMING, LLP ACCEPTS VISA OR MASTERCARD.
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Raffi Barsoumian

Chiacchia & Fleming, LLP

5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials
12/03/08 APF

12/18/08 APF
1/21/09 APF

1/22/09 APF

1/27/09 APF

Professional Services

Telephone conference with client re strategy &
status

Review and revise Client's letter to Skretny

Analyze documents received from client; prep.
e-mail to him

Review and revise Client's letter to the other
attorneys

Review and respond to e-mail from client

For services rendered

Hours
20

20
30

40

10

Recapitulation of Professional Services

Page 1

February 3, 2009
Client No. 05229
Matter No. 101
Invoice No. 11

 

 

Name Hours
Andrew P. Fleming 1.20
Total

Thank you for your last payment in the amount of $200.00 received on 3/28/08.

Total invoice amount
Previous unpaid balance as of 2/3/09

Balance due

Amount

$210.00
Amount
210.00
$210.00

$210.00

571.25

$781.25

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Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 14 of 50

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030 Page |
March 3, 2009
Raffi Barsoumian Client No. 05229
673 Orangeburgh Road Invoice Matter No. 101
Rivervale, NJ 07675 Invoice No. 12
U.B. Residency Issue
Date Initials Professional Services Hours Amount
2/03/09 CAP Telephone conference with client regarding 20
needed document
2/03/09 CAP Locate and email document to client 20
2/09/09 APF Telephone conference with opposing attorney .20
2/16/09 APF Draft letter to client 20
For services rendered $120.00

Recapitulation of Professional Services

 

Name Hours Amount

Christen Archer Pierrot AO 50.00

Andrew P. Fleming 40 70.00

Total $120.00
Total invoice amount $120.00
Previous unpaid balance as of 3/3/09 781.25
Balance due $901.25

Thank you for your last payment in the amount of $200.00 received on 3/28/08.

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CONVENIENCE, CHIACCHIA & FLEMING, LLP ACCEPTS VISA OR MASTERCARD.
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 15 of 50

Raffi Barsoumian

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials

3/12/09 CAP

3/12/09 CAP

3/23/09 CAP

4/20/09 CEB
4/24/09 CAP
4/27/09 CAP

4/27/09 CAP

Professional Services

Telephone conference with client regarding status
of case

Review and analyze Decision and Order on
motion for Preliminary Injunction

Telephone conference with client regarding status
of his case [no charge]

Draft disc demands

Review and revise discovery demands

Review and revise document demand to final and
email same to client

Telephone conference with client regarding
demands [no charge]

For services rendered

Recapitulation of Professional Services

Page 1

May 7, 2009
Client No. 05229
Matter No. 10]
Invoice No. 13

Hours Amount

.20

20

20

.80
80
1.70

20

$422.50

 

 

Name Hours
Christen Archer Pierrot 3.30
Cori Bolt .80
Total

Total invoice amount
Previous unpaid balance as of 5/7/09

Balance due

Amount
362.50
60.00
$422.50

$422.50

901.25

$1,323.75

Thank you for your last payment in the amount of $200.00 received on 3/28/08.
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 16 of 50

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030 Page 2
May 7, 2009
Raffi Barsoumian Client No. 05229
673 Orangeburgh Road Invoice Matter No. 101

Rivervale, NJ 07675 Invoice No. 13

U.B. Residency Issue

***PLEASE MAKE CHECKS PAYABLE TO CHIACCHIA & FLEMING, LLP. ALSO, FOR YOUR
CONVENIENCE, CHIACCHIA & FLEMING, LLP ACCEPTS VISA OR MASTERCARD.
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 17 of 50

Raffi Barsoumian
673 Orangeburgh Road

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

Invoice

Rivervale, NJ 07675

U.B. Residency Issue

Date
7/07/09 CAP

7/07/09 CAP

7/20/09 CAP

8/03/09 CAP
8/13/09 CAP
8/24/09 CAP

9/03/09 CAP
9/24/09 CAP

9/24/09 CAP

10/07/09 CAP

10/09/09 CAP
10/13/09 APF

10/15/09 LC

10/22/09 CAP
10/22/09 APF
10/24/09 CAP

10/24/09 CAP
10/27/09 CAP

10/27/09 CAP

Initials

Professional Services

Prepare and appear for scheduling conference
(opposing counsel, Delia Cadle, was an hour late)

Draft email to APF and client regarding
scheduling conference [No Charge]

Review and sign EBT notices for Hassett and
Berger; and discovery status

Review and revise discovery demands
Telephone conference with client

Telephone conference with Krista Gottlieb re:
mediation

Review and revise discovery requests
Draft mediation memorandum, assemble exhibits,
review pleadings in preparation for same, etc.

Review and respond to email correspondence
from mediator

Prepare for, travel to/from, and appear for
mediation session

Conference with client

Review and respond to E-mail from Cadle
w/e-mails to other attorneys and client

Drafted Motion to opt out of Mediation with
accompanying attorney affidavit in support of
same.

Meeting with client
Conference with client.

Review and revise motion to opt out of mediation
to final for APF's review

Review and revise motion to compel discovery

Telephone conference with Krista Gottlieb
regarding mediation

Review E-mail from client and draft email to
Krista Gottlieb

Hours

2.30

20

25

.20
25

35
2.60

.20

3.60

25
20

1.80

1.25

1.25
50

30

30

Page |

November 3, 2009
Client No. 05229

Matter No. 101
Invoice No. 14

Amount
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

Raffi Barsoumian
673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

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Page 2

November 3, 2009
Client No. 05229
Matter No. 101
Invoice No. 14

 

 

Date Initials Professional Services Hours Amount
10/29/09 APF Telephone conference with Mediator; prep. 25
e-mail to client re same
For services rendered $2,051.25
Recapitulation of Professional Services
Name Hours Amount
Christen Archer Pierrot 13.15 1,618.75
Andrew P. Fleming 1.70 297.50
Law Clerk 1.80 135.00
Total $2,051.25
Date Expenses Amount
7/08/09 Pacer research charge 88
8/05/09 Postage Charges 5.95
9/04/09 Postage 3.66
Total expenses $10.49
Total invoice amount $2,061.74

Thank you for your last payment in the amount of $1,500.00 received on 8/7/09.

***PLEASE MAKE CHECKS PAYABLE TO CHIACCHIA & FLEMING, LLP. ALSO, FOR YOUR
CONVENIENCE, CHIACCHIA & FLEMING, LLP ACCEPTS VISA OR MASTERCARD.
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Raffi Barsoumian

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials
11/05/09 CAP
11/09/09 CAP
11/17/09 CAP
11/25/09 CAP

11/25/09 CAP

11/25/09 APF

11/30/09 CAP

Professional Services
Prepare mediation information for mediator
Review E-mail from client
Telephone conference with Krista Gottlieb
Review and analyze documents in preparation for
mediation
Prepare for, travel to/from and appear for
mediation with client

Office conference with CAP re outcome and
strategies

Telephone conference with Delia Cadle regarding
her request to push back depositions until the first
week of January

For services rendered

Hours

8.50

.20

20

Recapitulation of Professional Services

Page |

December 7, 2009
Client No. 05229
Matter No. 101
Invoice No. 15

 

Name Hours
Christen Archer Pierrot 11.45
Andrew P. Fleming 20
Total

Total invoice amount
Previous unpaid balance as of 12/7/09

Balance due

Amount

$1,752.50
Amount
1,717.50
35.00
$1,752.50

$1,752.50

1,885.49

$3,637.99

Thank you for your last payment in the amount of $1,500.00 received on 8/7/09.
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 20 of 50

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030 Page 2
December 7, 2009
Raffi Barsoumian Client No. 05229
673 Orangeburgh Road Invoice Matter No. 101

Rivervale, NJ 07675 Invoice No. 15

U.B. Residency Issue

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Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 21 of 50

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030
Raffi Barsoumian

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Page |

January 5, 2010
Client No. 05229
Matter No. 101
Invoice No. 16

Amount

$237.50

 

 

Date Initials Professional Services Hours
12/01/09 CAP Review e-mail received from client. 9x4) 20
12/10/09 APF Various e-mails w/client 20
12/10/09 APF Prep. letter to Dr. Pinard 30
12/22/09 CAP Review e-mail received from client. 20
12/28/09 CAP Review and revise subpoenas for Kaleida & 40
ECMC.
12/29/09 CAP Telephone conference with client. 20
For services rendered
Recapitulation of Professional Services
Name Hours Amount
Christen Archer Pierrot 1.00 150.00
Andrew P. Fleming 50 87.50
Total $237.50

Total invoice amount
Previous unpaid balance as of 1/5/10

Balance due

Thank you for your last payment in the amount of $3,500.00 received on 1/4/10.

$237.50
137.99
$375.49

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CONVENIENCE, CHIACCHIA & FLEMING, LLP ACCEPTS VISA OR MASTERCARD.
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 22 of 50

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030 Page |

February 8, 2010
Client No. 05229
Matter No. 101

Invoice No. 17

Raffi Barsoumian
673 Orangeburgh Road
Rivervale, NJ 07675

Invoice

U.B. Residency Issue

Date Initials Professional Services Hours Amount
1/08/10 CAP — Telephone conference with Michael Connors, .20
Esq., attorney at Kaleida regarding our subpoena,
indicated boxes will be dropped off on Monday
or Tuesday of next week
1/11/10 CAP Draft email to client regarding discovery 10
documents received
1/11/10 CAP Deliver discovery documents to client (No 30
Charge)
1/12/10 CAP — Review E-mail from client and respond to same 25
1/12/10 CAP Review and analyze documents received from .60
Women's and Children's in response to the
subpoena
1/12/10 CAP — Review E-mail from client and respond to same .20
1/14/10 CAP Review and analyze document response 1.10
deficiencies and draft letter to Delia regarding
same
1/14/10 CAP — Review and analyze discovery documents 35
1/15/10 CAP Review and analyze discovery documents 1.70
1/18/10 APF Prepare for deposition(s); tel. conf. w/client .60
1/19/10 CAP Telephone conference with Joe Saeli regarding 25
Karen Swartz's deposition on 1/29 - he will be
appearing with her
1/19/10 CAP — Telephone conference with client regarding 20
discovery issues
1/21/10 APF Telephone conference with Atty. Saeli re Schultz .20
1/21/10 CAP Continue reviewing documents in preparation for 2.40
EBT's
1/22/10 APF Prepare for deposition(s) 2.00
1/23/10 APF Further Prep. for Depositions; Meeting w/client 4.50
1/24/10 CAP Per APF's request, assemble discovery demands 30

and subsequent correspondence regarding same
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13 Page 23 of 50

Raffi Barsoumian

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials
1/24/10 CAP

1/25/10 APF
1/25/10 APF
1/26/10 APF

1/26/10 CAP

1/29/10 CAP

1/29/10 APF

Professional Services Hours
Review and revise plaintiff's responses to 2.10
defendant's interrogatory requests
Prepare for deposition(s) 40
Hassett's deposition 6.50
Prepare for and appear for deposition of Berger; 7.50
meetings w/client
Review and analyze documents, etc., for 35
purposes of deposition
Review and revise supplemental document 40
demands

Meeting with client; Swartz Deposition; Meeting 2.40
w/Client

For services rendered

Recapitulation of Professional Services

Page 2

February 8, 2010
Client No. 05229
Matter No. 101
Invoice No. 17

Amount

$5,792.50

 

 

Name Hours
Christen Archer Pierrot 10.80
Andrew P. Fleming 24.10
Total
Date Expenses
12/29/09 Kaleida Health - subpoena
12/29/09 ECMC - subpoena
1/04/10 Doug DiFilippo - process service re subpoenas
1/14/10 Photocopy charge
1/14/10 Karen Swartz - subpoena
1/20/10 Doug DiFilippo - process service re subpoena
1/26/10 Photocopy charge

Amount
1,575.00

4,217.50

$5,792.50

Amount
22.50
22.50

100.00
23.55
22.50
50.00
25.35
Case 1:06-cv-00831-WMS-HBS Document 160-1 Filed 08/07/13

Raffi Barsoumian

Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date

1/29/10
1/29/10
1/29/10
1/29/10

Thank you for your last payment in the amount of $3,500.00 received on 1/4/10.

Expenses
ECMC - subpoena
Kaleida Health - subpoena
VA Medical Center - subpoena
University at Buffalo - subpoena

Total expenses

Total invoice amount
Previous unpaid balance as of 2/8/10

Balance due

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Page 3

February 8, 2010
Client No. 05229
Matter No. 101
Invoice No. 17

Amount
22.50
22.50
22.50
22.50

$356.40

$6,148.90
375.49
$6,524.39

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Chiacchia & Fleming, LLP
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Tel: (716) 648-3030 Page |

March 5, 2010
Client No. 05229
Matter No. 101

Invoice No. 18

Raffi Barsoumian
673 Orangeburgh Road
Rivervale, NJ 07675

Invoice

U.B. Residency Issue

Date Initials Professional Services Hours Amount

1/14/10 LMK____ prepare and arrange for service of Subpoena for .20
K. Swarts

1/28/10 LMK draft plaintiff's responses to production of 1.00
documents and interrogatories

1/29/10 LMK_ _ prepare and serve 5 subpoenas 75

1/29/10 LMK__ revise plaintiffs prod. of docs. 50

1/29/10 LMK_ ___ revisions to responses 2.00

1/29/10 LMK____ prepare and serve Plaintiff's Supplement 1.00
document requests

2/02/10 CAP _ Draft letter to Joe Saeli regarding Kaleida's 20
refusal to accept service of the January 29
subpoena

2/03/10 CAP — Telephone conference with Dr. Shick regarding 25
client's case

2/03/10 CAP Telephone call to Joe Saeli regarding subpoena 20
issue [No Charge]

2/05/10 CAP Review and analyze final discovery responses for 30
signature and service

2/09/10 CAP Telephone conference with Dr. Shick regarding .20
expert report on damages

2/10/10 CAP — Review E-mail from client and respond to same; 30
review email correspondence from Dr. Shick and
respond to same

2/10/10 CAP Telephone call to Joe Saeli regarding rejected 20
subpoena

2/12/10 CAP Review E-mail from client and Dr. Shick and 30
respond to same

2/12/10 LMK prepare subpoena for M. Miller; arrange for court 40
reporter and location; arrange for service of
subpoena in chicago

2/15/10 CAP Telephone conference with Dr. Shick 25

2/16/10 CAP Prepare expert disclosure, assemble same, draft .80

letter enclosing to opposing counsel
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Chiacchia & Fleming, LLP
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Tel: (716) 648-3030 Page 2

March 5, 2010
Client No. 05229
Matter No. 101

Invoice No. 18

Raffi Barsoumian
673 Orangeburgh Road
Rivervale, NJ 07675

Invoice

U.B. Residency Issue

Date Initials Professional Services Hours Amount

2/16/10 LMK Prepare new subpoena for Marsha Miller for .20
Chicago District Court [No Charge]

2/17/10 CAP — Conference with LK and APF regarding written 30
deposition and/or oral deposition of Dr. Keller

2/17/10 APF Telephone conference with client re strategy & .20
status

2/17/10 APF Telephone conference with Atty. Carlson of 30
Chicago firm re ACGME Subpoena

2/19/10 CAP Telephone conference with Jim Arnone from .20
Judge Scott's chambers regarding UB's refusal to
comply with the subpoeana

2/19/10 CAP Telephone call to Michele Reno at UB regarding 20
refusal to comply with the subpoena

2/19/10 CAP Draft letter to UB in response to failure to 20
comply with the subpoena

2/19/10 CAP __ Draft letter to Reno at UB regarding subpoena 25

2/19/10 CAP __ Research legal precedent and case law regarding .60
11th amendment immunity and compelling a
state agency to comply with a federal subpoena
[No Charge]

2/21/10 LC Research legal precedent and case law regarding 75
subpoena of state in Federal Court. Conference
with CAP. [No Charge]

2/22/10 APF Prepare for and appear for tel. conf. w/ACGME's 25
attorney [Carlson]; prep. e-mail to client

2/22/10 APF Telephone conference with client re Carlson 30
phone conf; prep. e-mails to other attorneys and
Carlson

2/25/10 APF Meeting with client to prep. for deposition 1.75

2/26/10 APF Client's Deposition 8.25
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Raffi Barsoumian

673 Orangeburgh Road

Rivervale, NJ 07675

U.B. Residency Issue

Date

Date
1/29/10
2/02/10

2/12/10
2/12/10
2/25/10

Initials
2/27/10 APF

Chiacchia & Fleming, LLP
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Hamburg, New York 14075

Tel: (716) 648-3030

Invoice

Professional Services

Telephone conference with client [x2] re

post-deposition issues

For services rendered

Recapitulation of Professional Services

Hours

Page 27 of 50

Page 3

March 5, 2010
Client No. 05229
Matter No. 101
Invoice No. 18

 

 

Name Hours
Christen Archer Pierrot 4.75
Andrew P. Fleming 11.30
Lynn Kozakiewicz 6.05
Law Clerk TS
Total

Expenses

UB Office of Graduate - subpoena

Doug DiFilippo - process service re subpoenas
(5)

LaSalle Process Servers - process of subpoena
Marsha Miller - subpoena

Federal Express charges

Total expenses

Total invoice amount
Previous unpaid balance as of 3/5/10

Balance due

Amount

$3,008.75
Amount
592.50
1,977.50
438.75
.00
$3,008.75

Amount

22.50

150.00

60.00

22.50

29.18

$284.18

$3,292.93

6,524.39

$9,817.32

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Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030 Page 4
March 5, 2010
Raffi Barsoumian Client No. 05229
673 Orangeburgh Road Invoice Matter No. 101

Rivervale, NJ 07675 Invoice No. 18

U.B. Residency Issue

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Raffi Barsoumian

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Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials

3/04/10 APF

3/04/10 APF

3/09/10 APF

3/10/10 APF
3/10/10 APF
3/12/10 APF

3/15/10 LAB

3/15/10 APF

3/25/10 APF

3/29/10 APF

Professional Services

Analyze documents received from Cantwell
[Economist's Report]; prep. Itr. to Dr. Schick

Prepare memorandum to CEB re assignments,
etc.; prep. e-mail to client

Review client's and Schick's e-mails on economic
damage issues

Review and respond to E-mail from Schick
Various e-mail exchanges with client

Draft letter to client McCann Invoice [No
Charge]

Conference with CAP and Lynn re: discovery.
[No Charge]

Prepare for and appear for Completion of Client's
Deposition

Review and revise Client's ACGME Drafts;
e-mails to/fro client

Review and revise documents for ACGME; tel
conf w/client

For services rendered

Hours

.20

25

.20
20
20

20

3.40

90

1.75

Recapitulation of Professional Services

Page |

April 6, 2010
Client No. 05229
Matter No. 101
Invoice No. 19

Amount

$1,262.00

 

 

Name Hours
Lisa Ball 20
Andrew P. Fleming 7.40
Total

Date Expenses

3/18/10 postage charges

Amount
.00
1,262.00

$1,262.00

Amount
4.88
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Chiacchia & Fleming, LLP
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Tel: (716) 648-3030 Page 2
April 6, 2010
Raffi Barsoumian Client No. 05229
673 Orangeburgh Road Invoice Matter No. 101
Rivervale, NJ 07675 Invoice No. 19
U.B. Residency Issue
Date Expenses Amount
3/24/10 Wendy McCann - EBT transcript of Karen 1,031.30
Swartz
Total expenses $1,036.18
Total invoice amount $2,298.18

Thank you for your last payment in the amount of $6,000.00 received on 3/16/10.

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Tel: (716) 648-3030

Raffi Barsoumian
673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date

Initials Professional Services

4/12/10 APF Draft letter to client original transcript
4/13/10 APF Prep letter to client re ACGME Findings
4/16/10 CAP Review and analyze Motions to compel; draft

Date
3/31/10
3/31/10
4/09/10
4/14/10

response to same; Review and analyze Raffis'
proposed response, etc.

For services rendered

Hours
.20

.20
5.30

Recapitulation of Professional Services

Page 31 of 50

Page 1

May 5, 2010
Client No. 05229
Matter No. 101
Invoice No. 20

Amount

$875.00

 

Name Hours
Christen Archer Pierrot 5.30
Andrew P. Fleming 40
Total

Expenses

ECMC - subpoena fee

Kaleida Health - subpoena fee

Doug DiFilippo - process service fee
postage charges

Total expenses

Total invoice amount
Previous unpaid balance as of 5/5/10

Balance due

Amount
795.00
80.00

$875.00

Amount
22.50
22.50

100.00
4.95

$149.95

$1,024.95
2,070.50
$3,095.45

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Tel: (716) 648-3030 Page 2
May 5, 2010
Raffi Barsoumian Client No. 05229
673 Orangeburgh Road Invoice Matter No. 101

Rivervale, NJ 07675 Invoice No. 20

U.B. Residency Issue

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Tel: (716) 648-3030 Page |

July 1, 2010
Client No. 05229
Matter No. 101

Invoice No. 21

Raffi Barsoumian
673 Orangeburgh Road
Rivervale, NJ 07675

Invoice

U.B. Residency Issue

Date Initials Professional Services Hours Amount

5/24/10 CAP Telephone conference with client regarding 30
dispositive motion deadline, etc.

5/27/10 CAP _ Draft letter to court 30

6/08/10 APF Analyze documents received from client [prposed 40
Rule 56]

6/08/10 APF Meeting with client, CAP and Tracy 1.10

6/08/10 CAP —_ Meeting with client 1.10

6/08/10 CAP _ Draft letter to Court for APF's signature 25
regarding scheduling order

6/08/10 CAP _ Draft letter to St. Francis Medical Center .20
enclosing authorization for employment records,
etc.

6/18/10 CAP — Telephone conference with client regarding status .20

6/22/10 CAP Research legal precedent and case law regarding 3.60
substantive due process, property interest case
law

6/23/10 APF Telephone conference with Jim Arnone of Judge 25
Scott's chambers; prep. e-mail to client

6/23/10 CAP Research legal precedent and case law regarding 3.70
due process; begin drafting MOL on procedural
due process claim

6/24/10 CAP Telephone conference with client regarding 25
Order extending discovery

6/24/10 CAP Review and analyze Order extending discovery 20
[No Charge]

6/24/10 CAP Telephone conference with client regarding 20
Order [No Charge]

6/25/10 APF Review and respond to e-mail from client .20
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Raffi Barsoumian

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Hamburg, New York 14075

Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials
6/28/10 CAP

6/28/10 CAP

6/29/10 CAP

Professional Services Hours

Review and analyze our motion to compel, 3.80
court's order and defendants' subsequent

discovery responses in an effort to draft a request

to the Court regarding defendants' still

outstanding discovery responses; outline

deficiencies, conference with LK regarding

documents in file; begin drafting response to

February 2010 document demands

Draft email to client regarding motion for 25
reconsideration

Telephone conference with client 30

For services rendered

Recapitulation of Professional Services

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Page 2

July 1, 2010
Client No. 05229
Matter No. 101
Invoice No. 21

Amount

$2,521.25

 

Name

 

Hours

Christen Archer Pierrot 14.65
Andrew P. Fleming 1.95

Total

Date
5/07/10

Thank you for your last payment in the amount of $3,095.45 received on 5/21/10.

Amount
2,137.50

383.75

$2,521.25

Expenses
Federal Express charge

Total expenses

Total invoice amount

Amount
49.56

$49.56

$2,570.81
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Chiacchia & Fleming, LLP
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Tel: (716) 648-3030 Page 3
July 1, 2010
Raffi Barsoumian Client No. 05229
673 Orangeburgh Road Invoice Matter No. 101

Rivervale, NJ 07675 Invoice No. 21

U.B. Residency Issue

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Raffi Barsoumian

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Tel: (716) 648-3030

673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials

7/06/10 CAP

7/06/10 CAP
7/08/10 CAP

7/08/10 CAP

7/08/10 CAP

7/09/10 CAP
7/09/10 CAP
7/09/10 CAP
7/09/10 CAP

T1410 LMK

TA4/10 LMK

T/9/10 CAP

7/23/10 APF
7/26/10 CAP

Professional Services

Review and revise interrogatory responses with
Raffi; discuss discovery responses

Review and revise interrogatory responses

Review and analyze documents, proposed
exhibits, etc. to begin assembling same for
Interrogatory and Document Demand responses

Draft supplemental Interrogatory responses,
document responses and draft to Cantwell
document responses

Meeting with client to go over discovery
responses

Telephone conference with client
Telephone conference with client
Review and revise discovery responses

Draft letter to counsel enclosing discovery
responses

Worked and copying and assembly of various
documents.

Travel to opposing counsel's office for hand
delivery of documents.

Telephone conference with Dr. Benotti regarding
residency correspondence

Appear for deposition(s)

Telephone conference with Delia regarding
"Medicare" authorization regarding emotional
distress claim -- indicated that we were not
pursuing such a claim and she directed me to
ignore the request for info then

For services rendered

Hours

90

1.10

3.40

4.90

3.20

20
20
30
20

4.50

50

.20

3.10
20

Page |

August 3, 2010
Client No. 05229
Matter No. 101
Invoice No. 22

Amount

$3,265.00
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Raffi Barsoumian
673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Recapitulation of Professional Services

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Page 2

August 3, 2010
Client No. 05229
Matter No. 101
Invoice No. 22

 

 

Name Hours
Christen Archer Pierrot 14.80
Andrew P. Fleming 3.10
Lynn Kozakiewicz 5.00
Total

Date Expenses

TA2NO Photocopy charge

Total expenses

Total invoice amount
Previous unpaid balance as of 8/3/10

Balance due

Thank you for your last payment in the amount of $3,095.45 received on 5/21/

Amount
2,220.00
620.00
425.00
$3,265.00

Amount

524.40

$524.40

$3,789.40

2,570.81

$6,360.21

10.

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Tel: (716) 648-3030 Page 1

September 3, 2010
Client No. 05229
Matter No. 101

Invoice No. 23

Raffi Barsoumian
673 Orangeburgh Road
Rivervale, NJ 07675

Invoice

U.B. Residency Issue

Date Initials Professional Services Hours Amount

8/10/10 CAP Research legal precedent and case law regarding 3.23
due process, pre and post termination procedures
and refusal to abide by grievance outcomes, etc.

8/12/10 CAP Research legal precedent and case law regarding 3.20
case law, etc. to draft memo of law

8/18/10 CAP Research legal precedent and case law regarding 2.10
substantive due process; shepardize case law, etc.

8/18/10 CAP Research legal precedent and case law regarding 1.90
breach of contract claims and when summary
judgment is appropriate

8/18/10 CAP Review and revise Statement of Facts; itemize 4.60
various exhibits for Lynn to assemble from file

8/20/10 CAP Research legal precedent and case law regarding, 6.10
Review and analyze case law, draft memo of law

8/24/10 CAP Review and revise and continue drafting 4.10
memorandum of law

8/24/10 CAP Review and revise Memo of law, continue legal 5.30
research; Review E-mail from client and respond
to same (x2)

8/25/10 CAP Review and analyze case law provided by client; 1.47
draft email to client re: same; continue
reviewing/implementing client proposed edits

8/26/10 CAP — Continue legal research, reviewing client based 3.40
edits, responding to same and revising memo of
law

8/26/10 CAP Review and revise memo of law to final draft 3 1.20
and send same to client

8/27/10 CAP — Review and revise memo of law for APF's 3.20
review; Review and analyze client's proposed
changes to statement of facts and email him re:
same

8/27/10 APF Review and revise motion documents. 1.10

8/30/10 CAP Review and revise Memo of Law with APF's .80

edits
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Raffi Barsoumian
673 Orangeburgh Road
Rivervale, NJ 07675

Invoice

UB. Residency Issue

Date Initials Professional Services

8/30/10 CAP

8/30/10 CAP

8/30/10 CAP
8/30/10 CAP
8/30/10 CAP

8/30/10 CAP

8/30/10 BSS

8/30/10 CAP

8/30/10 CAP

8/30/10 CAP

8/31/10 CEB

Review and revise Plaintiff affidavit for
Plaintiff's review; email him same

Review and analyze client's proposed edits to
Statement of Facts

Pull unpublished case law for filing
Organize electronic directory

Review and analyze UMRS's motion for SJ;
begin pulling case law cited in same

Review and revise statement of facts to final;
work with LMK to organize and assemble
exhibits

retrieve and print cases cited by Defendants in
MOL.

Fill in remaining citations and exhibit blanks in
documents and email same to client

Continue reviewing memo of law and pulling
case law

Prepare certificate of service; and notice of
motion

Prepare Exhibits for Motion

For services rendered

Hours
.90

40

30
50
.90

2.80

0

30

32

.90

1.00

Recapitulation of Professional Services

Page 2

September 3, 2010
Client No. 05229
Matter No. 101
Invoice No. 23

 

Name Hours
Christen Archer Pierrot 47.92
Cori Bolt 1.00
Andrew P. Fleming 1.10
Brent Salevsky 50

Total

$8,294.30

Amount
7,906.80
85.00
220.00
82.50

Amount

$8,294.30
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673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Expenses
8/23/10 Pacer - court searches

Total expenses

Total invoice amount
Previous unpaid balance as of 9/3/10

Balance due

Thank you for your last payment in the amount of $2,500.00 received on 8/13/10.

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Page 3

September 3, 2010
Client No. 05229
Matter No. 101
Invoice No. 23

Amount
64

$.64

$8,294.94
3,860.21
$12,155.15

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CONVENIENCE, CHIACCHIA & FLEMING, LLP ACCEPTS VISA OR MASTERCARD.
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Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030 Page |

October 4, 2010
Client No. 05229
Matter No. 101

Invoice No. 24

Raffi Barsoumian
673 Orangeburgh Road
Rivervale, NJ 07675

Invoice

U.B. Residency Issue

Date Initials Professional Services Hours Amount

8/24/10 LMK Work on exhibits for motion; edits to motion 1.10
documents

8/25/10 LMK _ worked on gathering exibits to motion; worked 2.20
with client on further edits to motion documents.

8/26/10 LMK. worked on motion documents. contined edits to 1.40
same and gathering of further exhibits.

8/27/10 LMK ___ revisions to motion documents, finalizing of 1.50
exhibits.

8/30/10 LMK _ Finalized edits to motion. Prepared document and 2.30
exhibits for electronic filing.

9/21/10 CAP Review and analyze client prepared documents in 1.75
opposition to motion(s) for summary judgment

9/22/10 CAP Prepare objections to UMRS SOF 2.80

9/23/10 CAP Review and revise UMRS objections to statement 3.90
of facts; Review and revise client prepared
UMRS memo of law

9/24/10 CAP Review and revise UMRS memo of law and 4.10
statement of facts to final draft

9/24/10 CAP Review and analyze UB's motion for summary 1.90
judgment; Review and revise client work product
regarding same

9/25/10 CAP Continue preparing response to UB's motion 6.40

9/26/10 CAP — Review and revise SOF through Paragraph 62 4.10

9/26/10 CAP Review and revise SOF through paragraph 80 4.60

9/27/10 CAP Review and revise SOFs/MOLs/Plaintiff Dec 8.00
with client edits; Research legal precedent and
case law regarding tortious interference, prep
same in MOL; Research legal precedent and case
law regarding qualified immunity

9/27/10 CEB Review and revise Responses to SJ 1.30
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Hamburg, New York 14075

Tel: (716) 648-3030

Raffi Barsoumian
673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials Professional Services Hours
9/27/10 MED _ Scanning of exhibits for summary judgment 1.10
responses; converting docs in preparation for
e-filing

For services rendered

Recapitulation of Professional Services

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Page 2

October 4, 2010
Client No. 05229
Matter No. 101
Invoice No. 24

 

Name Hours
Christen Archer Pierrot 37.55
Cori Bolt 1.30
Maria Dolan 1.10
Lynn Kozakiewicz 8.50
Total

Date Expenses

9/01/10 postage charges

Total expenses

Total invoice amount
Previous unpaid balance as of 10/4/10

Balance due

Amount

$7,122.25
Amount
6,195.75
110.50
93.50
722.50
$7,122.25

Amount

17.17

$17.17

$7,139.42

7,155.15

$14,294.57

Thank you for your last payment in the amount of $2,500.00 received on 10/1/10.

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Chiacchia & Fleming, LLP
5113 South Park Avenue
Hamburg, New York 14075

Tel: (716) 648-3030 Page 3
October 4, 2010
Raffi Barsoumian Client No. 05229
673 Orangeburgh Road Invoice Matter No. 101
Rivervale, NJ 07675 Invoice No. 24

U.B. Residency Issue
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Hamburg, New York 14075

Tel: (716) 648-3030

Raffi Barsoumian
673 Orangeburgh Road Invoice
Rivervale, NJ 07675

U.B. Residency Issue

Date Initials Professional Services Hours
10/12/10 CAP Review and revise client's reply papers 6.50

For services rendered

Recapitulation of Professional Services

Page 44 of 50

Page 1

November 3, 2010
Client No. 05229
Matter No. 101
Invoice No. 25

Amount

$1,072.50

 

 

Name Hours
Christen Archer Pierrot 6.50
Total
Date Expenses
10/13/10 postage charges
10/25/10 postage charges

Total expenses

Total invoice amount
Previous unpaid balance as of 11/3/10

Balance due

Amount
1,072.50

$1,072.50

Amount
7.95
8.02

$15.97

$1,088.47
14,294.57
$15,383.04

Thank you for your last payment in the amount of $2,500.00 received on 10/1/10.

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4/10/2012 CAP

Review and analyze Fax document received from UB; Review and analyze
documents received from Raffi

Raffi Barsoumian July 13, 2012
Syosset, NY 11791
in Reference To: U.B. Residency Issue
Invoice No.: 10642
Client No.: 05229.101
Professional Services
Hrs/Rate
2/28/2011 APF Telephone conference with Mediator to cut it off and have her file 0.20
175.00/hr
7/18/2011 CAP Draft motion to seal or limit nonparty access 0.90
165.00/nr
3/19/2012 CAP Review and analyze Decision; Telephone call with Raffi regarding same 0.50
185.00/hr
3/21/2012 CAP Telephone conference with Raffi regarding decision, strategy, etc. 0.60
185.00/hr
3/22/2012 CAP Research legal precedent and case law regarding time to file motion to 0.30
reconsider 185.00/hr
3/22/2012 CAP Telephone conference with client; draft memo to APF regarding same 0.80
185.00/hr
3/26/2012 APF Meeting w/client 1.20
250.00/nr
3/26/2012 CAP Meeting with client to discuss strategy 1.30
185.00/hr
3/26/2012 CAP Research legal precedent and case law regarding time frame for filing 0.25
motion and NOA 185.00/hr
4/2/2012 CAP Telephone conference with client 0.25
185.00/hr

1.92
185.00/hr

Amount

35.00

148.50

92.50

1171.00

55.50

148.00

300.00

240.50

46.25

46.25

354.38
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Raffi Barsoumian

Page 2
U.B. Residency Issue
05229.101
Hrs/Rate Amount
4/13/2012 CAP Review and analyze arguments on motion; former pleadings, exhibits, etc. 1.70 314.50
185.00/hr
4/13/2012 CAP Draft Notice of Motion; Attorney Affidavit 1.30 240.50
185.00/hr
4/14/2012 CAP Continue to Review and analyze client's information on qualified immunity 1.40 259.00
motion; Review and revise arguments on probation; draft email to client 185.00/hr
regarding status
4/16/2012 CAP Review and revise motion; analyze issues on motion, appeal, etc.; 3.10 573.50
Telephone conference with client; Review and revise motion; Meeting with 185.00/hr
client
4/20/2012 CAP Telephone conference with client regarding status of case 0.25 46.25
185.00/hr
5/1/2012 CAP Receive e-mail from client and respond to same; Research legal precedent 3.10 573.50
and case law regarding appellate jurisdiction; draft Forms C and D and 185.00/hr
Addendums thereto
5/14/2012 CAP Review and analyze and revise Plaintiffs emails, attachments, motion 7.90 1,461.50
responses; Review and analyze Defendants’ motions responses; draft 185.00/hr
response to same; assemble exhibits, various communications with client,
e-file.
5/17/2012 APF Meeting w/Client and CAP 1.00 250.00
250.00/hr
5/17/2012 CAP Meeting with client 1.75 323.75
185.00/hr
5/18/2012 CAP Review and analyze notes and draft letter to Sleight 0.90 166.50
185.00/hr
5/18/2012 CAP draft supplemental attorney affidavit attaching plan of probation for court's 0.50 92.50
review 185.00/hr
5/21/2012 CAP Receive e-mail from client and Review and analyze documents; Review 1.90 351.50
and analyze correspondence from Sleight 185.00/hr
5/23/2012 CAP Review and analyze proposed letter to Berger; email client regarding same 0.30 55.50
185.00/hr
5/24/2012 CAP Review and revise client's draft letter to sleight 0.80 148.00
185.00/hr
5/25/2012 CAP Research legal precedent and case law regarding Martinson and Zwick 0.70 129.50
student due process cases 185.00/hr
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Raffi Barsoumian

 

Page 3
U.B. Residency Issue
05229.101
Hrs/Rate Amount
6/7/2012 CAP Telephone conference with David Sleight regarding sexual harassment 0.25 46.25
grievance 185.00/hr
6/7/2012 CAP draft email to client 0.20 37.00
185.00/hr
6/19/2012 CAP Telephone conference with client 0.20 37.00
185.00/hr
6/24/2012 APF Meeting w/CAP and Client 1.50 375.00
250.00/hr
6/24/2012 CAP Prepare for and meet with client to discuss case strategies and filings; 4.30 795.50
begin drafting papers re: same 185.00/hr
6/25/2012 CAP complete attorney affidavit; Review and analyze of Berger's affidavit and 1.60 296.00
exhibits and email same to client and APF for review 185.00/hr
7/2/2012 BS Conduct legal research regarding FRCP Rule 65 and case law interpreting 2.60 390.00
likelihood of success on merits and 2d Circuit's recent application of rule 150.00/hr
7/3/2012 CAP Research legal precedent and case law regarding FRCP 65; case law on 12.30 2,275.50
TRO; local and individual judge's rules on Rule 65 practice; Review and 185.00/hr
analyze same and draft pleadings (attorney affirmation, memorandum of
law, notice of application, proposed order on application, and exhibits)
7/3/2012 BS Conference with CAP re Ex PAret Motion. Conduct legal research for case 0.70 105.00
law supporting Motion. 150.00/hr
7/3/2012 BS Travel to Federal Court; file ex parte motion and serve same on Judge. 0.50 75.00
150.00/hr
7/9/2012 CAP Telephone conference with client (x2) 0.30 55.50
185.00/hr
7/9/2012 CAP Review and analyze letter from Sleight regarding grievance rights; arrange 0.20 37.00
for same to be emailed to client 185.00/hr
Timekeeper Summary
Name Hours Rate Amount
Andrew P. Fleming 3.70 250.00 $925.00
Andrew P. Fleming 0.20 175.00 $35.00
Brent Salevsky 3.80 150.00 $570.00
Christen Archer Pierrot 50.87 185.00 $9,410.13
Christen Archer Pierrot 0.90 165.00 $148.50
For professional services rendered 59.47 $11,088.63
Case 1:06-cv-00831-WMS-HBS

Raffi Barsoumian
U.B. Residency Issue
05229.101

Costs/Disbursements:

4/18/2012 USDC/NYW - Notice of Appeal filing

Document 160-1

7/6/2012 Old Tappan Medical Group -- medical records

Total costs/disbursements

Total amount of this bill

7/13/2012 Payment from account

Total payments and adjustments

Balance due

Filed 08/07/13

interest will be charged at a rate of 9% per annum on all balances past 30 days.

PLEASE MAKE CHECKS PAYABLE TO CHIACCHIA & FLEMING, LLP.

For your convenience, Chiacchia & Fleming, LLP also accepts Visa and/or Mastercard.

Client funds transactions

Previous balance of Default
5/1/2012 Payment to account Check #480
Raffi Barsoumian
. Check No. 480
7/13/2012 Payment from account

New balance of Default

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Page 4

Amount

455.00
50.00

$505.00

$11,593.63
($10,000.00)

($10,000.00)

$1,593.63

$0.00
$10,000.00

($10,000.00)
$0.00
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Raffi Barsoumian

Syosset, NY 11791

August 08, 2012

In Reference To: U.B. Residency issue

invoice No.:

10716

Client No.: 05229.101

Professional Services

 

Hrs/Rate Amount

7/16/2012 CAP Prepare and appear for teleconference 1.60 240.00
150.00/hr

7/16/2012 CAP Prepare Stipulation and send to other side 0.50 75.00
150.00/hr

7/18/2012 CAP Prepare ECMCC submission; Review and revise client's drafts 2.80 420.00
150.00/hr

7/19/2012 CAP Review and revise letter to final 0.30 45.00
150.00/hr

7/31/2012 CAP Review and analyze Decision and Order on Motion for Reconsideration 0.25 37.50
150.00/hr

8/1/2012 CAP Telephone conference with client regarding probation, grievance, proposal, 0.75 112.50
ACGME, etc. 150.00/hr

8/1/2012 CAP Telephone conference with client regarding status 0.75 112.50
150.00/hr

8/5/2012 CAP Meeting with client and Draft letter to ACGME regarding residency training 0.80 120.00
150.00/nr

Timekeeper Summary

Name Hours Rate Amount

Christen Archer Pierrot 7.75 150.00 $1,162.50

For professional services rendered 7.75 $1,162.50
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Raffi Barsoumian Page 2
U.B. Residency Issue
05229.101

Costs/Disbursements:

Amount

7/19/2012 Photocopy charge 8.10
Total costs/disbursements $8.10

Total amount of this bill $1,170.60

Previous balance $1,593.63

Accounts receivable transactions

8/3/2012 VISA Payment - Thank You ($1,593.63)
Total payments and adjustments ($1,593.63)

Balance due $1,170.60

Interest will be charged at a rate of 9% per annum on all balances past 30 days.

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For your convenience, Chiacchia & Fleming, LLP also accepts Visa and/or Mastercard.
